Case 2:05-cr-20037-BBD Document 11 Filed 08/18/05 Page 1 of 2 Page|D 8

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UNITED sTATEs DISTRICT CoURT DATE-_ __,O$;L‘f..£‘§-*

WESTERN DISTRICT OF TENNESSEE . pyl/I
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Western Division T\ME-__._-(-f

mtr\ALSr _.--&--"""
UNITED sTArEs oF AMERICA

-vs- Case No. 2:05cr20037-001B

CEDRIC BROOKS

 

ORDER OF DETENT|ON PENDING TR|AL
F|ND|NGS
ln accordance With the Bail Reform Act, 18 U.S.C. § 3142(£), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENTION

CEDRIC BROOKS is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal CEDRIC BROOKS shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: August 18, 2005 é_/n;;m#-l@./

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20037 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

